    Case: 1:17-cv-08291 Document #: 111 Filed: 03/06/19 Page 1 of 5 PageID #:651



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DEISY JAIMES, et al.,                              )
                                                   )
             Plaintiffs,                           )           Case No. 17-cv-08291
                                                   )
             v.                                    )
                                                   )           Hon. Judge Jorge L. Alonso
COOK COUNTY, et al.,                               )           Hon. Judge Sidney I. Schenkier
                                                   )
             Defendants.                           )           JURY TRIAL DEMANDED



 PLAINTIFFS’ MOTION TO COMPEL COMPLIANCE WITH COURT ORDER AND
               SECOND MOTION TO COMPEL DISCOVERY

       Now Come Plaintiffs, by and through their attorneys, Loevy and Loevy, and hereby

respectfully move this Court to order Defendant Cook County to comply with the Court’s order

to produce discovery and to supplement their response to Plaintiffs’ First Set of Requests for

Production No. 9 with Cook County’s insurance policies. In support thereof, Plaintiffs state as

follows:

       1.         This case was filed on November 15, 2017 and the parties had their initial

scheduling conference in February of 2018. This Court granted a second motion to extend the

discovery schedule in July of 2018, ordering the parties to complete discovery by April 29, 2019.

This Court made clear this extension was final and no further requests for extension of time

would be granted. See Doc. No. 67.

       2.         Plaintiffs have been diligently working to complete discovery and ready their case

for trial. Plaintiffs served their initial discovery requests in July 2018 and agreed to several

extensions for Defendant Cook County’s responses. In October 2018, Plaintiffs moved to compel
    Case: 1:17-cv-08291 Document #: 111 Filed: 03/06/19 Page 2 of 5 PageID #:652



responses to their requests. This Court granted Plaintiffs’ motion on October 29, 2018. See Doc.

No. 87.

          3.     Despite this Court’s order, Defendants have not produced all of the documents

ordered by the Court. Plaintiffs have taken Rule 30(b)(6) depositions in this case, but cannot

proceed with defendant and third party depositions of relevant Cook County Sheriff’s

Department employees without the discovery ordered by the Court.

          4.     Specifically, Plaintiffs’ First Set of Requests for Production No. 18 requests:

          All Documents relating to all Complaints by detainees or inmates at Cook
          County Jail, or any other Persons, alleging inappropriate or excessive force,
          abuse (including but not limited to domestic abuse), beating, assault, or any
          kind of violence or misconduct committed by any Cook County Sheriff’s
          Department or Cook County Jail employee and/or Cook County Defendants
          from the period of November 2010 - 2015.

          5.     The Court ordered Defendant Cook County to produce documents responsive to

RFP No. 18 on a rolling basis beginning November 19, 2018 and to be completed by no later

than December 21, 2018. Id. The Court also ordered Defendant Cook County to produce a

sample of 40 files responsive to RFP No. 18 by November 28, 2018. Id.

          6.     After producing the sample of 40 files in January 2019, Defendant Cook County

has not produced any other documents. On January 8, 2019, the parties conferred about the scope

of the request. The parties agreed that the next batches in the rolling productions of complaints

should encompass: (a) all Cook County officer complaints against other Cook County officers;

(b) all citizen complaints against Cook County officers, including family members complaining

against Cook County officers; and (c) any other third party complaints against Cook County

officers. The parties further agreed that inmate complaints against officers would continue to be

produced on a rolling basis after these categories of complaints have been provided. See Exhibit

A (Plaintiffs’ counsel 1/10/19 email to defense counsel).
    Case: 1:17-cv-08291 Document #: 111 Filed: 03/06/19 Page 3 of 5 PageID #:653



       7.      On January 22, Plaintiffs’ counsel inquired about the outstanding discovery.

Defendant did not respond. See Ex. B (Plaintiffs’ counsel 1/22/19 email to defense counsel). On

February 6, Plaintiffs’ counsel again inquired about the outstanding discovery. Defense counsel

responded that they had received some documents and were preparing them for disclosure. See

Ex. C (Counsels’ 2/6/19 emails).

       8.      On February 11, Defendant produced documents in response to Plaintiffs’ Second

Set of Requests for Production. This production did not include the outstanding discovery

responsive to Plaintiff’s First Set of Requests for Production No. 18. See Ex. D (Defense

paralegal 2/11/19 email to Plaintiffs’ counsel).

       9.      After receiving the production, Plaintiffs again inquired about the outstanding

discovery on February 15 and 20. See Ex. E (Counsels’ 2/15/19 emails and Plaintiffs’ counsel’s

2/20/19 email to defense counsel). Defense counsel did not indicate when the documents would

be produced.

       10.     On February 28, defense counsel informed Plaintiffs’ counsel that it would be

producing documents in response to Plaintiffs’ Third Set of Requests for Production. Plaintiffs’

counsel responded that there was still outstanding discovery from Plaintiffs’ First Set of Request

for Production. Defendant did not respond. See Ex. F (Counsels’ 2/28/19 emails).

       11.     Plaintiffs therefore respectfully request that the Court order the Defendant to

comply with its October 29 Order and produce responsive documents to Plaintiffs’ RFP No. 18

in no later than two weeks.

       12.     In addition, a second category of documents remains outstanding. In July 2018,

Plaintiffs requested Cook County’s insurance policies. Plaintiffs renewed their request in

November 2018. See Ex. G (Plaintiffs’ counsel 11/27/18 email to defense counsel).
    Case: 1:17-cv-08291 Document #: 111 Filed: 03/06/19 Page 4 of 5 PageID #:654



       13.     On February 21, 2019, Defendant amended its response to Plaintiffs’ discovery

request regarding the insurance policies with the policy numbers but did not produce the policies

themselves. See Ex. H (Defendant Cook County’s amended response to Plaintiffs’ RFP No. 9).

       14.     Plaintiffs requested on February 21 and 28 that Defendant produce the policies

themselves. Defendant failed to respond. See Ex. I (Plaintiffs’ counsel’s 2/21/19 and 2/28/19

emails to defense counsel).

       15.     Plaintiffs therefore also respectfully request that this Court compel the Defendant

to produce the insurance policies.

       WHEREFORE, Plaintiffs respectfully ask this Court for an order compelling compliance

with its order to produce documents in response to Plaintiffs’ First Set of Requests for

Production No. 18 and supplement its response to Plaintiffs’ First Set of Requests for Production

No. 9 with the insurance policies.

                                                     Respectfully submitted,

                                                     /s/ Danielle Hamilton
                                                     One of Plaintiffs’ Attorneys

Arthur Loevy
Jon Loevy
Michael Kanovitz
Katie Roche
Danielle Hamilton
LOEVY & LOEVY
311 North Aberdeen St., 3rd Floor
Chicago, Illinois 60607
(312) 243-5900
    Case: 1:17-cv-08291 Document #: 111 Filed: 03/06/19 Page 5 of 5 PageID #:655



                                CERTIFICATE OF SERVICE

        I, Danielle Hamilton, an attorney, certify that on March 6, 2019, I filed the foregoing
Plaintiffs’ Motion to Compel Compliance with Court Order and Second Motion to Compel
Discovery using the Court’s CM/ECF system, which effected service on all counsel of record.

                                                     /s/ Danielle Hamilton
                                                     One of Plaintiffs’ Attorneys
